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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PARVEZ & RAZIA YAZDANI,                              :             CIVIL ACTION
                 Plaintiffs,                          :
                                                      :
                 v.                                   :
                                                      :
 BMW OF NORTH AMERICA, LLC, and                       :
 BMW MOTORRAD USA, a Division of                      :             No. 15-01427
 BMW OF NORTH AMERICA, LLC                            :
               Defendants.                            :

                                             ORDER

       AND NOW, on May 12, 2016, it is ORDERED:

       (1)      Upon consideration of Defendant BMW of North America, LLC, and BMW

Motorrad USA’s Motion to Preclude Plaintiffs’ Expert, William J. Vigilante, Jr. (doc. 16),

Plaintiffs Parvez & Razia Yazdanis’ Response (doc. 17), and BMW’s Reply (doc. 20), BMW’s

motion to preclude is DENIED in part and GRANTED in part for the reasons stated in the

accompanying memorandum. Mr. Vigilante shall be precluded from testifying that: (a) it was

unreasonable for BMW to rely on its dealers to convey safety warnings; and (2) it was

unreasonable for BMW to rely on the Rider’s Manual because second-hand users are unlikely to

obtain the manual and users are unlikely to read all or any part of the manual.

       (2)      Upon consideration of BMW’s Motion for Summary Judgment (doc.15), the

Yazdanis’ Responses (doc. 18), and BMW’s Reply (doc. 21), BMW’s motion for summary

judgment is DENIED for the reasons stated in the accompanying memorandum.

                                                     BY THE COURT:



                                                     /s/ Timothy R. Rice
                                                     TIMOTHY R. RICE
                                                     U.S. MAGISTRATE JUDGE
